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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig “Deepwater    :           MDL No. 2179
       Horizon” in the Gulf of Mexico, on     :
       April 20, 2010                         :           SECTION: J
                                              :
This Document Relates to: No. 10-8888 Doc.    :           JUDGE BARBIER
       Ref. No. 6376                          :           MAGISTRATE JUDGE SHUSHAN
                                              :
Vessel of Opportunity (VoO) Contract Disputes :
…………………………………………………... :


  THE BP PARTIES’ RESPONSES TO PLAINTIFFS’ AMENDED STATEMENT OF
   UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION FOR PARTIAL
SUMMARY JUDGMENT ON THE ISSUE OF LIABILITY FOR BREACH OF MASTER
   VESSEL CHARTER AGREEMENT, VESSEL OF OPPORTUNITY PROGRAM

1.      Hoi Nguyen is a shrimper and the owner of the fishing vessel My Angel II, homeported in
Biloxi, Mississippi. Exhibit 6, Declaration of Hoi Nguyen, ¶ 2.

RESPONSE: Uncontested.



2.     On May 12, 2010 Hoi Nguyen signed a Master Charter Agreement with BP Production
Company Americas, Inc. for the hire of the My Angel II. Mr. Nguyen only reads very simple
English and the terms of the agreement were explained in Vietnamese at a meeting in Point
Cadet, Mississippi. This Master Charter Agreement was assigned the number 58060. Exhibit 6,
Attachment A. The Master Charter Agreement was supplied by BP and presented to Hoi
Nguyen for signature. Id. ¶ 2.

RESPONSE: Contested in part. Mr. Nguyen signed two Master Vessel Charter Agreements.
The Master Vessel Charter Agreement that is dated May 12, 2010, that Mr. Nguyen signed, and
that a representative of BP America Production Company countersigned on May 18, 2010, was
assigned the contract number MOB-58046. See Exhibit 6, H. Nguyen Dec. The remainder of
paragraph 2 is uncontested for the purposes of this Motion.



3.     The copy of the BP Charter Agreement which BP returned to Mr. Nguyen had blank
pages in place of pages 2, 4, 6, and 8. However, the Charter Agreement is identical in all other
respects to the form Master Vessel Charter Agreement which BP supplied to all other parties.

RESPONSE: Uncontested for the purposes of this Motion. BP further states that, during the
existence of the Vessels of Opportunity program, slightly different versions of the Master Vessel
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Charter Agreement were used but that, for purposes of this Motion, Mr. Nguyen’s Master Vessel
Charter Agreement that was assigned the contract number MOB-58046 is identical to the other
versions of the Master Vessel Charter Agreement in all material respects.



4.     Under the terms of the Master Charter Agreement the hire for the My Angel II was $3,000
per day. Exhibit 6, Attachment A.

RESPONSE: Uncontested for purposes of this Motion.



5.     Under the terms of the Master Charter Agreement the vessel was paid for crew members
at $200 per 8 hour day, and $300 per 12 hour day. Exhibit 6, Attachments A and C.

RESPONSE: Uncontested for purposes of this Motion.



6.      From the date of signing forward, Hoi Nguyen held the My Angel II prepared and ready
for use by BP. Id. ¶ 3-4.

RESPONSE: For purposes of this Motion, BP does not contest that, from May 15, 2010
through September 17, 2010, Mr. Nguyen held the My Angel II prepared and ready for use by
BP. BP further states that Mr. Nguyen was not contacted by a BP representative and asked if the
My Angel II would report to work until May 30, 2010, H. Nguyen Dec. ¶ 5, on or about July 15
or 16, 2010, Mr. Nguyen was instructed to get his boat cleaned and return home, and on
September 17, 2010, Mr. Nguyen’s vessel was moored at its homeport in Biloxi, Mississippi.
Ex. K, H. Nguyen’s Am. Interrog. Resps. at 3, 4.



7.     On or about May 14, 2010, Hoi Nguyen and the members of his crew attended a four
hour safety training class in Biloxi Mississippi in preparation for undertaking their obligations
under the Master Charter Agreement. Id.

RESPONSE: Uncontested for purposes of this Motion. BP further states that, pursuant to
Article 2 of the Master Vessel Charter Agreement, each vessel’s captain and crew were required
to take part in safety training in order to be eligible to participate in the VoO program.



8.     On May 30, 2010, Hoi Nguyen was instructed by BP to depart Biloxi, Mississippi. From
May 31 until mid-July, 2010, the My Angel II was out on the Gulf of Mexico, or was back at the
dock. Id. ¶ 5.

RESPONSE: Contested. BP admits that BP requested that Hoi Nguyen depart Biloxi,
Mississippi on May 30, 2010. However, Mr. Nguyen declined and instead asked if he and his


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vessel could depart Biloxi, Mississippi on May 31, 2010. Ex. D, Nguyen Tr. at 52:16-56:15. BP
further states that, on July 15 or 16, 2010, Mr. Nguyen was instructed to get his boat cleaned and
return home and, by July 17, 2010, the My Angel II was at its homeport in Biloxi, Mississippi.
Ex. K, H. Nguyen’s Am. Interrog. Resps. at 3, 4.



9.      In mid-July the My Angel II was in Mobile Bay, and Hoi Nguyen was instructed to “get
your boat cleaned and go home” to Biloxi. En route back to Biloxi he received a gross
decontamination from a barge located near the Dauphin Island bridge. He did not observe any
Coast Guard personnel present. The area in which the boat was cleaned was not boomed off.
Mr. Nguyen did not receive a certificate or other document. In fact, oil remained on the vessel
and lines on the vessel following this gross decontamination. Id. ¶ 6.

RESPONSE: BP does not contest that, on July 15 or 16, 2010, Mr. Nguyen was instructed by a
BP employee or representative to have his vessel decontaminated and return to his home port or
that the My Angel II received decontamination near Dauphin Island bridge on July 18. Ex. D. at
72-73. BP also does not contest that Mr. Nguyen now states that oil remained on the hull and
lines of the vessel, but further states that Mr. Nguyen did not notify any BP employee or
contractor during or after the July 18 decontamination that he believed that there was still oil on
the hull and lines of his vessel. Id. at 67:15-18, 71:24-72:1.



10.    Under the “Sector Mobile AL Deep Draft Vessel Evaluation and Cleaning Plan” [Exhibit
6], “a contaminated vessel owner’s representative must obtain the Coast Guard Verifying
Officer’s final verification of decontamination.” [Exhibit 7, p. 9]. This language is duplicated in
the other documents setting out the strategy for vessel decontamination. [Exhibit 8, Mississippi
Canyon 252 Vessel Evaluation and Decontamination Plan, Louisiana, at p. 18].

RESPONSE: BP does not contest that the cited documents contain the quoted language but
further states that this language does not appear anywhere in the Master Vessel Charter
Agreement and that neither of these documents specifically apply to or reference the Vessels of
Opportunity program.



11.    About July 18, 2010, My Angel II returned to Biloxi, Mississippi. Mr. Nguyen was
apparently given a document to sign which is titled “Off-hire Deactivation Check Sheet.” This
document was filled out by someone other than Mr. Nguyen. Mr. Nguyen confirms that his
signature appears on this document, but does not recall the document or how it was provided.
Mr. Nguyen can read only limited English. Exhibit 6, ¶ 7.

RESPONSE: Contested in part. In his deposition, Mr. Nguyen admitted that he assisted a BP
representative fill out the “Off-hire Deactivation Check Sheet.” Specifically, Mr. Nguyen
testified that he provided the inspector that signed the document the information contained
therein, including that his vessel had been decontaminated, that his on-hire date was May 31,
2010, and that his off-hire date was July 19, 2010. Ex. D. at 72:9-79:5.


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12.    After July 20 the My Angel II remained in Biloxi. Pursuant to the terms of the Master
Charter Agreement, Hoi Nguyen did not use the My Angel II or hire her to any third party, but
held the My Angel II in readiness for the exclusive use of BP. Mr. Nguyen continued to send
invoices under the Charter Agreement. Id. ¶ 8.

RESPONSE: Contested in part. BP contests Plaintiffs’ characterization of the Master Vessel
Charter Agreement or that any of Mr. Nguyen’s actions were taken “pursuant to [its] terms.”



13.     Mr. Nguyen did not receive any further instructions as to the disposition of My Angel II
or its operations under the Master Charter Agreement until he received a letter at the address
stated in the Charter Agreement which stated that it was “Off Hire Dispatch Notification” and
the charter was terminated as of August 27, 2010 “pursuant to the terms of the Master Charter
Agreement.” The notice further instructed Mr. Nguyen that “if you have not had your vessel
properly decontaminated and an off-hire survey performed please immediately contact your local
Vessel of Opportunity Coordinator to schedule your off-hire survey and decontamination as soon
as possible.” Id. ¶ 9, Attachment D.

RESPONSE: BP admits that Mr. Nguyen received the letter described in paragraph 13 with the
quoted language and further states that the letter provides that it “terminates the MVCA
immediately as of the date noted below,” which is August 27, 2010. Pls’ Ex. D.



14.     Shortly after the Off Hire Dispatch Notification was received, Hoi Nguyen was informed
that the My Angel II was on a list at the Point Cadet Marina in Biloxi, for decontamination in
Bayou La Batre, Alabama. Capt. Nguyen called a person he knew to be working with BP and
confirmed that the My Angel II was scheduled for final decontamination in Bayou La Batre
within the first two weeks of September. Id. ¶ 9.

RESPONSE: Uncontested that Mr. Nguyen testified as to the above.



15.    In early September 2010, the My Angel II was decontaminated in Bayou La Batre and
returned to Biloxi. On September 16, 2010 the Coast Guard inspected Mr. Nguyen’s vessel and
he received a Verification of Final Decontamination Id. ¶ 9, Attachment E. At the time he
received this verification of final decontamination he was instructed to take the lines that had oil
on them and bag them and dispose of them. Id. ¶ 9.

RESPONSE: Uncontested for purposes of this Motion. BP further states that Mr. Nguyen did
not inform any BP employee or contractor of his contention that his Vessel or its lines were
contaminated after receiving decontamination on July 18, 2010. Id. at 67:15-18, 71:24-72:1.



16.     On September 17, 2010, the My Angel II returned to Biloxi and was safely moored. Id. ¶
9.


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RESPONSE: Uncontested for purposes of this Motion.



17.    A few days later somebody apparently connected with the VOO program called
Mr. Nguyen and told to send an invoice for ten days. However, Mr. Nguyen had already sent
invoices for his time per the terms of the Charter Agreement. Id. ¶ 10.

RESPONSE: Uncontested for the purposes of this Motion.



18.     Mr. Nguyen was paid the charter hire for one day for the training the vessel and crew
received, and for the period of May 31, 2010 through July 20, 2010. This payment for the
training and daily hire was a total of $208,340. Id. ¶ 11.

RESPONSE: Contested in part. BP admits that Mr. Nguyen was paid $200 to attend training,
which is different than the amount paid for an on-hire vessel, id. 39:18-40:20, and was paid
charter hire for his Charter Term between May 31 and July 20, 2010, which was approximately
$208,340.



19.     Mr. Nguyen was not paid charter hire for the period May 15 through May 30, 2010.

RESPONSE: Uncontested. BP further states that Mr. Nguyen did not invoice for this time
period, id. at 135:3-20, and is not owed charter hire for this time period because he was not on-
hire.



20.    In October 2010, BP paid Mr. Nguyen an additional $34,200. This amount is equal to 9
days of the vessel hire rate with four crew members working an 8 hour day. In March 2011, BP
paid Mr. Nguyen another $7,600. This was equal to two days of the vessel hire rate with four
crew members working an 8 hour day.

RESPONSE: Uncontested for the purposes of this Motion.



21.     For the period from July 21 through September 17, Mr. Nguyen was paid the agreed upon
charter hire for only 11 days, rather than the 58 days in this period.

RESPONSE: BP admits that Mr. Nguyen was paid for 11 days in this time period. BP contests
that any additional payment is owed to Mr. Nguyen during this time period under the Master
Vessel Charter Agreement.




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Dated: October 27, 2011           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 27th day of October, 2011.




                                                   /s/ Don K. Haycraft




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